DOCUMENTS UNDER SEAL
                        Case 3:15-cr-00319-RS Document 58 Filed 08/31/15 Page 1 of
                                                              TOTAL TIME (m ins): 4M
                                                                                    1
M AGISTRATE JUDGE                          DEPUTY CLERK                               REPORTER/FTR
M INUTE ORDER                              Karen L. Hom                               FTR: 9:36-9:40
MAGISTRATE JUDGE                           DATE                                       NEW CASE          CASE NUMBER
SALLIE KIM & JOSEPH C. SPERO               August 31, 2015                                              3:15-cr-00319-RS-1
                                                      APPEARANCES
DEFENDANT                                  AGE      CUST  P/NP   ATTORNEY FOR DEFENDANT                       PD.     RET.
Shaun W. Bridges                                    N         P       Steven Levin                            APPT.
U.S. ATTORNEY                              INTERPRETER                               FIN. AFFT              COUNSEL APPT'D
Katie Haun, Will Frentzen, Bill Evans                                                SUBMITTED

PROBATION OFFICER            PRETRIAL SERVICES OFFICER                DEF ELIGIBLE FOR                 PARTIAL PAYMENT
                             Katrina Chu                              APPT'D COUNSEL                   OF CJA FEES
                                        PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR              PRELIM HRG       MOTION           JUGM'T & SENTG                             STATUS
                                                                                                                TRIAL SET
       I.D. COUNSEL                ARRAIGNMENT            BOND HEARING               IA REV PROB. or            OTHER
                                                                                     or S/R
       DETENTION HRG               ID / REMOV HRG         CHANGE PLEA                PROB. REVOC.               ATTY APPT
                                                                                                                HEARING
                                                     INITIAL APPEARANCE
         ADVISED                 ADVISED                  NAME AS CHARGED               TRUE NAME:
         OF RIGHTS               OF CHARGES               IS TRUE NAME
                                                        ARRAIGNM ENT
       ARRAIGNED ON                 ARRAIGNED ON              READING W AIVED               W AIVER OF INDICTMENT FILED
       INFORMATION                  INDICTMENT                SUBSTANCE
Felony                                                   RELEASE
      RELEASED             ISSUED                    AMT OF SECURITY         SPECIAL NOTES                  PASSPORT
      ON O/R               APPEARANCE BOND           $                                                      SURRENDERED
                                                                                                            DATE:
PROPERTY TO BE POSTED                           CORPORATE SECURITY                        REAL PROPERTY:
    CASH    $


      MOTION            PRETRIAL               DETAINED           RELEASED      DETENTION HEARING                REMANDED
      FOR               SERVICES                                                AND FORMAL FINDINGS              TO CUSTODY
      DETENTION         REPORT                                                  W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                              PLEA
    CONSENT                     NOT GUILTY                   GUILTY                    GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA               PLEA AGREEMENT            OTHER:
    REPORT ORDERED                                           FILED
                                                        CONTINUANCE
TO:                                ATTY APPT               BOND                      STATUS RE:
8/31/15 (already set)              HEARING                 HEARING                   CONSENT                  TRIAL SET

AT:                                SUBMIT FINAN.             PRELIMINARY             CHANGE OF                STATUS
                                   AFFIDAVIT                 HEARING                 PLEA
3:00 PM                                                      _____________
BEFORE HON.                        DETENTION                 ARRAIGNMENT             MOTIONS                  JUDGMENT &
                                   HEARING                                                                    SENTENCING
Seeborg
         TIME W AIVED              TIME EXCLUDABLE           IDENTITY /              PRETRIAL                 PROB/SUP REV.
                                   UNDER 18 § USC            REMOVAL                 CONFERENCE               HEARING
                                   3161                      HEARING
                                                 ADDITIONAL PROCEEDINGS
cc: CL


                                                                                          DOCUMENT NUMBER:
